  Case: 1:22-cv-00708 Document #: 103-1 Filed: 10/20/23 Page 1 of 2 PageID #:1580




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION AT CHICAGO

  BRANDON SMIETANA, et al,                 )
                                           )
                Plaintiffs,                )
                                           )
  v.
                                           ) Case No.: 1:22-CV-00708
  BRADFORD STEPHENS, et al.,               )
                                           ) Honorable Judge Sara L. Ellis
                  Defendants.              )
                                           )




                                      NOTICE OF FILING

TO:    Michael C. Goode
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PLEASE TAKE NOTICE THAT on October 20, 2023, the undersigned caused the following

DEFENDANT RYAN EAGLES’S MOTION TO DISMISS PLAINTIFFS’ THIRD

AMENDED COMPLAINT UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

and 12(b)(1), to be electronically filed with the Northern District of Illinois Clerk of the Court, a

copy of which is attached.


                                                                          Respectfully Submitted,

                                                                                 /s/ Dean Barakat
                                                                        One of Plaintiff’s Attorneys
Cole Sadkin, LLC


                                                  1
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                                CERTIFICATE OF SERVICE


The undersigned, a non-attorney, hereby certifies that on October 20, 2023 he electronically filed
the aforementioned documents, pleadings, or papers with the Clerk of the Court using the
CM/ECF system which will send electronic notification of such filing to all CM/ECF
participants.


                                                            /s/ Dean Barakat
                                                            Dean Barakat




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